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                        11/5/2020




                                             THE CITY OF NEW YORK
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                                                                      November 4, 2020



        VIA ECF

        Hon. John P. Cronan U.S.D.J.
        Daniel Patrick Moynihan
        United States Courthouse
        500 Pearl Street
        New York, NY 10007

                 Re: A.A., et al. v. N.Y.C. Dep’t of Educ., 20-cv-02274 (VEC)

        Dear Judge Cronan,

                I am an Assistant Corporation Counsel in the office of Corporation Counsel James E.
        Johnson, attorney for Defendant in the above-referenced action wherein Plaintiffs seek, among
        other relief, attorneys’ fees, costs and expenses for legal work on an administrative hearing under
        the Individuals with Disabilities Education Act, 20 U.S.C. §1400, et seq., as well as for this
        action.

               I write to respectfully request a 30-day adjournment of the parties’ Initial Pre-Trial
        Conference, currently scheduled for November 6 at 10:00am. This is the third request for an
        adjournment. This Court granted Defendant’s first request for adjournments given the COVID-
        19 pandemic and its impact on the operations of the New York City Department of Education. Its
        second adjournment was granted given the City’s sudden and mandated termination of the
        employment of five attorneys who handles all fees litigation under the Individuals with
        Disabilities Education Act, 20 U.S.C. §1400.

               This third request stems arises from the fact that Defendant’s counsel has obtained
        settlement authorization from the Comptroller’s Office as of this Monday, November 2.
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Defendant requests additional time, which will allow the parties to attempt full settlement
without the need for further burden on the Court.

         Historically, both offices have had success resolving federal fee claims through the
settlement process without having to submit summary judgment motions or to engage in further
litigation. Therefore, based on previous experience, we are hopeful that we will be able to reach
a settlement agreement and avoid further litigation in this matter as well.

        The requested extension should, barring any extraordinary circumstances, provide the
parties with additional time to attempt to resolve this matter entirely. Therefore, Defendant
respectfully requests that the Pre-Trial Conference be adjourned to December 4, 2020. Thank
you for considering this request.

                                                            Respectfully Submitted,



                                                            /s/

                                                            Bianca C. Isaias
                                                            Attorney for Defendants


cc:    Adam Dayan (via ECF) Attorney for Plaintiffs




      It is hereby ORDERED that the November 6, 2020 conference is adjourned sine die,
      and that the parties shall submit a joint letter updating the Court on the status
      of settlement discussions by December 4, 2020.

      The Clerk of the Court is respectfully directed to terminate the motions pending at
      document number 15 and 16.

      SO ORDERED.

      Date: November 4, 2020
            New York, New York                      __________________________
                                                    JOHN P. CRONAN
                                                    United States District Judge




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